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                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                      SPRINGFIELD

Mary Moore, individually and on behalf of all                    3:22-cv-03172-CRL-KLM
others similarly situated,
                                    Plaintiff,

                      - against -

Kellogg Sales Company,
                                    Defendant

         Plaintiff gives notice that this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated:     July 17, 2023
                                                             Respectfully submitted,

                                                             Sheehan & Associates, P.C.
                                                             /s/Spencer Sheehan
                                                             Spencer Sheehan
                                                             spencer@spencersheehan.com
                                                             60 Cuttermill Rd Ste 412
                                                             Great Neck NY 11021
                                                             Tel: (516) 268-7080
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                                       Certificate of Service

I certify that on July 17, 2023, I served and/or transmitted the foregoing by the method below to
the persons or entities indicated, at their last known address of record (blank where not applicable).

                                    CM/ECF            First-Class         Email             Fax
                                                         Mail
 Defendant’s Counsel                    ☒                  ☐                ☐               ☐
 Plaintiff’s Counsel                    ☒                  ☐                ☐               ☐
 Courtesy Copy to Court                 ☐                  ☐                ☐               ☐


                                                            /s/ Spencer Sheehan




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